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14

15                          UNITED STATES DISTRICT COURT

16                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

17   UNITED STATES OF AMERICA,               CR No. 19-642-VAP

18             Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
                                             RE FOREIGN AGENTS REGISTRATION
19                   v.                      ACT VIOLATIONS; MEMORANDUM OF
                                             POINTS AND AUTHORITIES
20   IMAAD SHAH ZUBERI,
                                             Date: May 18, 2020
21             Defendant.                    Time: 9:00 a.m.
                                             Courtroom: 8A
22

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 1        Plaintiff, United States of America, by and through its counsel

 2   of record, the United States Attorney for the Central District of

 3   California, hereby submits its position with respect to the

 4   defendant’s Foreign Agents Registration Act (”FARA”) violations and

 5   his failure to comply with the terms of his plea agreement.

 6        An under seal declaration of Assistant United States Attorney

 7   Daniel J. O’Brien in support of this position, with exhibits, will

 8   be filed concurrently with this document.

 9   Dated: March 17, 2020               Respectfully submitted,
10                                       NICOLA T. HANNA
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11
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13

14                                             /s/
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15                                       Assistant United States Attorney
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.   INTRODUCTION

 3        The government disagrees with the characterizations of

 4   defendant’s Foreign Agents Registration Act (“FARA”) violations set

 5   forth by the U.S. Probation Office (“USPO”) in its Presentence

 6   Report (“PSR”).    The FARA violations in this case were not merely

 7   reporting violations, but rather a crucial ingredient of Zuberi’s

 8   broader efforts to help foreign governments, entities, and

 9   individuals corrupt our public officials, institutions, and

10   democratic processes.     Moreover, although the USPO factually recites

11   several examples of Zuberi’s FARA violations, it does not adequately

12   convey their scope, or the pervasive and insidious nature of

13   defendant’s corrupt acts.

14        Nearly the entirety of defendant’s business activities and

15   profits involved trading on his ability to influence U.S. government

16   officials by engaging in concerted lobbying efforts and making

17   enormous campaign contributions that, unbeknownst to the recipients

18   and the public, were funded by prohibited foreign sources.            For

19   reasons discussed below, the FARA offenses committed by Zuberi were

20   necessary to execute this criminal scheme.         Defendant’s extensive

21   and repeated FARA violations and related nefarious conduct demand

22   substantial punishment.

23        Moreover, the USPO’s valid “concern that our government lacks

24   transparency” and the public’s loss of faith stemming from past

25   failures to interdict clandestine foreign efforts to subvert U.S.

26   democratic processes counsel in favor of a significant sentence in

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 1   this case to deter other would-be FARA offenders from seeking to

 2   compromise U.S. democracy in exchange for foreign cash.

 3   II.   ZUBERI’S COULD NOT HAVE DISCLOSED HIS FOREIGN AGENCY WITHOUT
           ABANDONING HIS LARGER CRIMINAL ENTERPRISE
 4
           The USPO is mistaken when it characterizes defendants’ FARA
 5
     violations as a mere failure to comply with reporting requirements.
 6
     Although FARA has reporting requirements, FARA prohibits acting as
 7
     an unregistered agent of a foreign principal.          United States v.
 8
     Manafort, 318 F. Supp. 3d 1 (D.D.C. 2018).          Moreover, the USPO’s
 9
     assertions that “what make his actions illegal is lack of disclosure
10
     . . . and not the conduct itself” and “he would not have violated
11
     FARA if he properly disclosed that he was working [as] an agent”
12
     fail to consider the reasons why Zuberi concealed his foreign agency
13
     and made false registration filings.         Truthful disclosures would
14
     have had devastating ramifications to both Zuberi’s “business” and
15
     his ability to alter U.S. foreign policy.
16
           First, Zuberi would have been unable secure foreign clients if
17
     he had filed truthful FARA registrations because secrecy was
18
     integral to his nefarious scheme.          The foreign governments and
19
     individuals at issue only retained Zuberi because diplomatic,
20
     transparent, and legal lobbying mechanisms had proved inadequate to
21
     obtain the results they sought.       These foreign entities resorted to
22
     paying Zuberi—who was not a registered lobbyist—millions of dollars
23
     for backdoor influence.      Zuberi solicited his foreign clients for
24
     illegal campaign contributions.       Zuberi also informed clients that
25
     he was party to quid pro quo arrangements that involved the exchange
26
     of money in return for U.S. government action that would benefit
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 1   their foreign businesses.      One of Zuberi’s clients described

 2   Zuberi’s sales pitch as follows:

 3        “I’m in charge of fund-raising for [] President Obama.” …
          “When you take pictures with [] President Obama … this
 4        will open up business for you. Plus, you know, in the
          States we have [a saying] that says, ‘I scratch your back,
 5        you scratch my back.’” … “You come donate, and you come
          take pictures.” … “if you pay, you know, we American[s],
 6        we can give you business in Libya, we can give you
          business in Kuwait. You know, there are a lot of military
 7        work[s] going on. We can help out there a lot of ways.”

 8        This criminal enterprise demanded secrecy.          FARA requires the

 9   identification of all foreign principals on whose behalf the

10   registrant is acting, foreign monies received by the registrant, the

11   dispersal of such funds, political activities (such as lobbying)

12   engaged in by the registrant, and campaign contributions made by the

13   registrant and associated individuals.        Truthful FARA disclosures

14   would have revealed defendant’s receipt of millions of dollars from

15   foreign sources, the specific lobbying and public relations efforts

16   performed, and the millions of dollars of political contributions he

17   made to the officials he was lobbying.        It would have invited the

18   same scrutiny defendant encountered when a Foreign Policy Magazine

19   article revealed his Sri Lankan lobbying efforts,1 a crime to which

20   defendant has now admitted guilt.

21        Second, secrecy was necessary to Zuberi’s fraud and tax evasion

22   schemes.   Zuberi converted client funds.        Zuberi didn’t report this

23   stolen money as income nor the money he received from foreign

24   clients in compensation for his lobbying efforts.          Truthful FARA

25   registration filings would have revealed defendant’s redirection of

26

27
          1 https://foreignpolicy.com/2015/08/28/elite-fundraiser-for-
28   obama-and-clinton-linked-to-justice-department-probe/

                                            3
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 1   client funds to his own personal benefit, undisclosed foreign bank

 2   accounts, and multi-million dollar tax fraud.

 3        Third, Zuberi could not influence and manipulate U.S.

 4   government officials without concealing his foreign agency.            Zuberi

 5   was “insistent that he didn’t want to be directly linked” to the Sri

 6   Lanka lobbying organization because it would interfere with

 7   “fundraising for the Democratic party.”        As explained by one

 8   associate, “if Imaad wasn’t involved in the lobbying effort, then he

 9   could then pursue his fundraising and involvement in politics, and

10   the foreign moneys wouldn’t be directly linked.”

11        Moreover, FARA requires that before a registrant lobbies a

12   policymaker in person, the registrant must reveal to the policymaker

13   that he or she is lobbying on behalf of a foreign principal.

14   Abiding by this requirement would have enabled policymakers to

15   consider Zuberi’s lobbying in context.        This requirement also likely

16   would have caused policymakers to seek more information on whether

17   Zuberi’s campaign contributions were funded by foreign entities, and

18   to reject any contributions of foreign money.

19        The idea that Zuberi could have simply “properly disclosed” his

20   work as a foreign agent and thereby avoided criminal liability is

21   not a realistic one.     Let us assume that Zuberi planned to disclose

22   the true facts to the American public with respect to his Libya FARA

23   violations, discussed below.       Zuberi worked on behalf of a faction

24   of the Libyan government and a Saudi national, to release hundreds

25   of billions of dollars of frozen assets, by routing $3 to $5 million

26   in foreign money into U.S. lobbying campaigns, illegal campaign

27   donations, and donations to quasi-political entities, and exerting

28   his influence with the highest elected officials of the United

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 1   States, in return for a stake in a five percent commission paid by

 2   the Libyan officials into an offshore corporation after the frozen

 3   funds were released.2     Would the foreign clients have agreed to this

 4   proposal knowing that it would be publicly disseminated?           Would our

 5   elected officials have unfrozen the funds after such public

 6   disclosures?    Would the American press deem these matters not

 7   newsworthy?    Would the electorate vote for these politicians?          Would

 8   the Department of Justice ignore the Federal Election Campaign Act

 9   violations?    If the scheme was successful, would the Internal

10   Revenue Service ignore Zuberi’s unreported income?

11   III. ZUBERI’S FARA VIOLATIONS WERE PERVASIVE

12        In addressing the gravity of defendant’s work as a foreign

13   agent, the USPO correctly observes that such conduct “ignites the

14   suspicion that we are vulnerable to influence by … foreign

15   governments” and that “Zuberi’s actions highlight the frailty of

16   democratic integrity.”      While true, this statement understates the

17   impact defendant’s FARA violations had on U.S. foreign policy and

18   our democratic institutions.

19        This case does not merely ignite “suspicions.”           Public opinion

20   is already rife with suspicions that foreign influence has

21   compromised our elections and confidence in our democratic

22   institutions has weakened.3      The Zuberi case explicitly verifies

23   through evidentiary proof pervasive, corrupt foreign interference

24   with our elections and policy-making processes.

25

26        2 Regardless of the success of the endeavor, contingency fee
     arrangements are prohibited under FARA. 22 U.S.C. § 618(h)
27
          3 See https://web.stanford.edu/~tomz/working/TomzWeeks-
28   ElectoralIntervention-2019-08-13i.pdf

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 1        Defendant’s entire business model consisted of soliciting

 2   foreign governments, entities, and individuals for money -- part of

 3   which was earmarked for illegal campaign contributions, part of

 4   which was used to engage in unregistered and non-transparent

 5   lobbying and public relations activities, and part of which was used

 6   to pay Zuberi –- in return for Zuberi wielding influence with

 7   members of Congress and the Executive Branch under the false

 8   pretense that he acted independently and in the best interest of the

 9   United States.    Zuberi’s standard consulting contract required him

10   to access government officials in the United States to develop

11   business opportunities throughout the world.4         The prosecution has

12   found no instance in which Zuberi made significant money from

13   sources other than foreign interests, little work that did not

14   depend upon illegal lobbying and public relations efforts, and no

15   instance in which Zuberi truthfully revealed to the U.S. government

16   or to the American public his foreign agency or his pecuniary

17   interest in the outcome of his lobbying efforts.

18        Defendant repeatedly used foreign money to influence U.S.

19   elections (e.g., on behalf of Saudi, Kuwaiti, and Bahraini

20   entities/individuals), perpetrate frauds on the U.S. Congress (e.g.,

21   on behalf of a Bahraini entity/individual), and alter U.S. foreign

22   policy (e.g., on behalf of the Sri Lankan, Turkish, and Libyan

23   governments) in efforts to generate criminal proceeds for himself.

24

25
          4 For example, an August 26, 2013 contract stated that “Avenue
26   understands that [Company D] wishes Avenue to approach government
     entities, semigovernment entities and private companies/entities in
27   the United States, Asia, Africa and the Middle East, to find,
     structure and execute on opportunities for various business
28   transactions . . . .”

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 1   This foreign money gave the election campaigns of Zuberi’s political

 2   cronies an unfair advantage over opponents.          His foreign-financed

 3   lobbying efforts resulted in over a dozen Members of Congress

 4   falsely condemning one foreign nation for interfering with U.S.

 5   foreign investments and the withdrawal of a House Resolution

 6   condemning another foreign nation that had actually engaged in

 7   objectionable conduct.

 8         In addition to the Sri Lankan lobbying activity that forms the

 9   basis of defendant’s FARA conviction, the government provides the

10   following additional examples of FARA violations by the defendant to

11   demonstrate the scope and nature of defendant’s criminal activity.5

12         A.    ZUBERI LOBBIED CONGRESS AS AN AGENT OF A BAHRAINI NATIONAL

13         As alleged in the Information, Zuberi secretly lobbied the U.S.

14   Congress as an agent of a Bahraini national.          This episode amplifies

15   the insidious nature of Zuberi’s FARA offenses.          Not only did Zuberi

16   conceal his foreign agency, he constructed a fraudulent artifice

17   that deceived a dozen members of Congress into exerting pressure on

18   the Foreign Minister of Bahrain under false pretenses.            In sum,

19   Zuberi concocted a scheme to fool members of Congress into believing

20   that he had invested millions of dollars in a Bahraini development

21   project and that he had been unfairly harassed by the Bahraini

22

23
          5 The government disagrees with the PSR’s description of
24   defendant’s repeated FARA violations as “not part of relevant
     conduct.” The Sentencing Guidelines include within the definition
25   of relevant conduct offenses “that were part of the same course of
     conduct or common scheme or plan as the offense of conviction.”
26   U.S.S.G. § 1B1.1(a). See also § 3553(a)(1) (requiring the Court to
     consider “the nature and circumstances of the offense and the
27   history and characteristics of the defendant”); § 3553(a)(2)(B-C)
     (requiring the Court to consider the need for the sentence imposed
28   “to afford adequate deterrence to criminal conduct.”

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 1   government in such a way that Congress should intervene.            A truthful

 2   FARA filing would have revealed this artifice to be a sham and that,

 3   in reality, Zuberi made no such investment.          Rather, a foreign

 4   national had paid Zuberi millions of dollars to engage in an anti-

 5   Bahrain lobbying effort.

 6         In February 2013, the Government of Bahrain froze the personal

 7   assets of Person J, a Bahrain citizen, and delayed the continued

 8   development of the Al Areen Palace & Spa (“Al Areen”), a resort in

 9   which Person J had a financial interest.         Throughout 2013 and early

10   2014, in return for approximately $1,500,0006 provided by Person J,

11   Zuberi implemented an elaborate scheme to convince both the Bahraini

12   and U.S. governments that his business, Avenue Ventures, had

13   invested millions of dollars in Al Areen.         Zuberi then engaged in an

14   intensive lobbying campaign to convince members of Congress to

15   pressure the government of Bahrain to stop its interference in “U.S.

16   foreign investment.”

17         Zuberi’s fraudulent effort to convince the world of his

18   “investment” in Al Areen ranks high in its level of audacity.             Using

19   money supplied by Person J, Zuberi paid a former high-ranking U.S.

20   military official over $150,000 to travel twice to Bahrain, meet

21   with Bahraini officials to demonstrate Person J’s influence in the

22   United States, and participate in an April 29, 2013 publicity stunt

23   in which Avenue Ventures supposedly acquired a 35% stake in Al

24   Areen.   The publicity stunt consisted of an event in Los Angeles at

25   which Person J and a representative of Avenue Ventures purportedly

26

27
          6 Zuberi received another $500,000 from Person J in connection
28   with Al Areen in 2015.

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 1   signed a partnership agreement in which Avenue Ventures acquired a

 2   35% stake in the project in return for a multi-million dollar

 3   investment.    Zuberi hired a public relations firm to distribute news

 4   and photographs of the event throughout the world.           No such

 5   agreement was executed; nor was any such investment ever made.

 6         Zuberi’s lobbying effort was extensive.         Zuberi tasked the

 7   former U.S. military official and other proxies to assist him in

 8   enlisting the support of a high-ranking U.S. State Department

 9   official posted in Bahrain.       In an effort to convey his clout,

10   Zuberi told the State Department official that Zuberi might be

11   accompanied by a “former POTUS as well.”         Zuberi, the former U.S.

12   military official, and other proxies of Zuberi lobbied U.S. State

13   Department officials and a members of the House Foreign Affairs

14   Committee (“HFAC”) in Washington, D.C. to convince the U.S.

15   government to exert pressure on Bahrain.

16         In or around December 2013, Zuberi began soliciting members of

17   Congress to write letters to the Bahraini government condemning its

18   interference in Al Areen.       Zuberi falsely informed Congress that “a

19   major investment by a US company in Bahrain is experiencing

20   significant interference from Bahraini authorities acting on behalf

21   of a member of the royal family” and that Avenue Ventures “is

22   seeking support from its government for a cessation of interference

23   in its project in Bahrain.”

24         A component of Zuberi’s lobbying effort involved illegal

25   campaign contributions.      From December 2013 through April 2014,

26   Zuberi made nearly $225,000 in campaign contributions to eleven

27   members of Congress who were subjects of his lobbying efforts, to

28   their political action committees, and to the national campaign

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 1   committees for their political parties.         Of this amount, $78,000

 2   constituted illegal “conduit” contributions made in the names of

 3   third parties.     As a result of these undisclosed, fraudulent, and

 4   illegal actions, twelve7 Members of Congress wrote letters to the

 5   Foreign Minister of Bahrain asking that his government stop its

 6   “interference” and “harassment” of “U.S. investors.”

 7         B.    ZUBERI LOBBIED CONGRESS AS AN AGENT OF THE TURKISH
                 GOVERNMENT
 8
           Zuberi’s actions at the direction of the Turkish government
 9
     demonstrate how a foreign government may seek to manipulate the U.S.
10
     Congress to do its bidding by employing proxies willing to violate
11
     U.S. law.    As detailed below, Zuberi concealed from the public his
12
     orchestration of this attempt to manipulate Congress.
13
           On May 20, 2015, thirty Members of Congress introduced House
14
     Resolution 279 (“HR 279”) “urging respect for freedom of expression
15
     and human rights in Turkey.”       The bill cited Turkey’s intimidation
16
     of the media, exploitation of anti-terrorism laws to target the
17
     media on questionable charges, and ban of Twitter and YouTube.             The
18
     Resolution called on Turkey to “lift restrictions on freedom of
19
     expression.”
20
           On the very same day HR 279 was presented, a high-ranking
21
     Turkish official requested Zuberi’s assistance in opposing the
22
     resolution.    Seeking free land to engage in property development
23
     projects in Turkey, Zuberi agreed to use his influence with Members
24
     of Congress to defeat the resolution.         After meeting with other
25

26
          7 Zuberi had already made $26,000 in campaign contributions to
27   the twelfth member of Congress, a U.S. Senator, of which $15,600
     were illegal conduit contributions made in the names of third
28   persons back in April 2013.

                                            10
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 1   high-ranking agents of the Turkish government, Zuberi personally

 2   urged members of the HFAC and several sponsors of HR 279 to first

 3   delay the measure, and later, to let it die without receiving a

 4   vote.    Zuberi not only solicited help from members of the House of

 5   Representatives, but members of the Senate Foreign Relations

 6   Committee and other powerful politicians as well.

 7           On June 1, 2015, Zuberi informed the Turkish official that his

 8   efforts had resulted in a delay of the measure:

 9           “[Two Members of Congress] told me this will be delayed by
             a week 99% because they control the Foreign Affairs
10           Committee. You … push me so hard I pushed [] harder than I
             have ever pushed them for anything. Both asked me why I am
11           pushing this hard for Turkey.”

12   The Turkish official responded that the official “owes him one” and

13   that "You can rest assured that this will be the first step towards

14   a mutually beneficial relationship."

15           Zuberi continued his lobbying efforts to defeat the resolution

16   over the following months.       On June 2, 2015, after Zuberi privately

17   met with one of the HR 279 sponsors in California and urged him to

18   reconsider his position, Zuberi reported to the Turkish official

19   that he could easily “pick off” that Congressman.           On July 1, 2015,

20   Zuberi again personally met that sponsor who told Zuberi that the

21   day after Zuberi sought his help, he went to the leadership of the

22   HFAC and told them that HR 279 should be delayed or he would

23   “withdraw his signature from the resolution."          In the end, HR 279

24   never progressed beyond its initial referral to the HFAC.

25           Between the submission of HR 279 and the end of 2015, Zuberi,

26   Person LL, and their spouses funded approximately $150,000 in

27   campaign contributions earmarked for politicians they lobbied to

28

                                            11
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 1   defeat the resolution.8            Zuberi brought home the connection between

 2   some of these contributions and the support he received from members

 3   of Congress.        For example, on June 23, 2015, he informed a staffer

 4   for a Congressman Zuberi lobbied in connection with HR 279 that

 5   Person LL gave $33,400 to a national campaign committee on behalf of

 6   the Congressman and that the staffer should let the Congressman

 7   know.

 8           Zuberi’s profit motive, rather than a goal to serve the

 9   interests of his country, was demonstrated by his bitter complaints,

10   the following year, about Turkey’s failure to compensate him for his

11   efforts:

12
      4/23/16   Person LL   Please get me an appointment with [Congressman], [Congressman] and a
13                          couple of congresman or senator this monday or tuesday
14    4/23/16   Person LL   this will make good imppresion on your project
      4/23/16   Zuberi      No more appointments until we go to Turkey first. Please do not ask me
15                          again
                            …
16    4/24/16   Zuberi      I am not interested in calling anyone. You have donated mere fraction of
                            what I have done. You are taking advantage of all the millions I have
17
                            spent over past 10 years. You have benefited enough from me. I am tired.
18                          I will not do anything before I get signal this will work from Turkey…
      4/24/16   Person LL   imaad. you are wrong. We will go turkey. this people are very senior
19                          advisor and working on our project. it will be nice to see them. i just
                            need you do this for me. i told him that we can have an apoinment for
20                          [Congressman] or one or two people.
21    4/24/16   Person LL   we can discuss this later. i did not have interest doing this project. I
                            amnonly talking them for you. yes it takes time. but we make progress
22                          …
      4/24/16   Zuberi      I will ask [Congressman] tomorrow…
23                          …
      5/2/16    Zuberi      I will tell the [Turkish official] this is the last time. I get million times
24
                            more from Saudis for doing less than I have done for Turkey. Enough
25                          is enough
                            …
26

27
          8 Zuberi and Person LL also bundled tens of thousands of dollars
28   in contributions during this timeframe.

                                                    12
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 1    5/2/16    Zuberi   Only come with the [Turkish official] if you want me to be honest with him
                         because I am going to tell him this. I spent several hours with him and
 2                       you last year but nothing happened afterwards…
 3    5/2/16    Zuberi   Please make sure you let the [Turkish official] know that I am not happy
                         for the one-way relationship I get many times more from people others
 4                       and do a lot less for them. This one-way relationship need to end or
                         Turkish side needs to deliver
 5                       …
      5/2/16    Zuberi   It is not just Saudi Kingdom but other places as well (more democratic
 6
                         than Turkey). Where I do much less than for Turkey but get way more
 7                       Again, I don’t want to repeat myself but I am getting tired of one-way
                         street I need to start seeing some benefits otherwise we need to end
 8                       these Turkish games

 9         Zuberi went so far as to threaten Turkish officials if he was

10   not adequately compensated.          On May 10, 2016, Zuberi told Person LL

11   that he would block Turkish officials from meeting with members of

12   Congress unless his demands were met, asking if he should “get

13   [Congressman] and [Congressman] for [Turkish official] or you want

14   me to block them."      In December 2016, Person LL tried to get Zuberi

15   to pay for a Turkish official’s tickets to the 2017 Presidential

16   Inauguration, saying that it would be a “golden opportunity” for

17   Zuberi to get his construction contracts.                Zuberi demanded an

18   apology and told Person LL he would “block” the Turkish official

19   from the Inaugural if his demands were not met.

20         C.     ZUBERI LOBBIED AS AN AGENT OF SELECT MEMBERS OF THE LIBYAN
                  GOVERNMENT AND A SAUDI/UNITED KINGDOM NATIONAL
21
           Zuberi lobbied members of the HFAC as an undisclosed agent of
22
     select members of the Libyan Government and Person A, a Saudi/United
23
     Kingdom national, in 2015 and 2016.              Libya was riven by civil war,
24
     with two competing governments in Tobruk and Tripoli9 and several
25
     militias exercising de facto control over various parts of the
26

27
          9 The U.S. government and western powers recognized the Tobruk
28   government.

                                                13
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 1   country.    Overseas Libyan assets had been frozen by the United

 2   States and other nations pending the establishment of a stable

 3   Libyan government.

 4         Zuberi, Person A, and select representatives of the Tobruk

 5   government negotiated an arrangement through which Zuberi would

 6   exert his influence with the U.S. Congress to unfreeze these funds

 7   and, if successful, the Libyan government would pay a commission to

 8   an offshore entity organized by Person A and a Libyan businessman.

 9   The profits generated by this venture would be distributed to

10   various individuals participating in this endeavor.           Members of the

11   Libyan delegation and Person A promised to pay Zuberi compensation

12   for his efforts, but the precise source and timing of that payment

13   was a continued source of friction.

14         Zuberi’s lobbying efforts began in January 2015 and included:

15   (1) obtaining a March 26, 2015 letter of invitation to a Libyan

16   delegation from two members of the HFAC and one U.S. Senator, (2)

17   engaging in backdoor channels with Congress and the State Department

18   to obtain visas for the delegation on April 18, 2015 so that they

19   could visit the United States, (3) recruiting a group of individuals

20   in May 2015 to lay the groundwork for the lobbying effort, (4)

21   meeting with the Libyan delegation in Paris in March and May 2015 to

22   convince them of his ability to secure the release of the frozen

23   funds, and (5) fronting money in support of the effort, primarily in

24   the form of payments to retain associates, pay travel expenses, and

25   make campaign contributions.

26         From January 23 through March 9, 2015, Zuberi made $70,300 in

27   contributions to the campaign committees and PACs of the three

28   members of Congress who issued the letter of invitation and to

                                            14
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 1   another Senator he lobbied in connection with the effort to procure

 2   the invitation.       Of these contributions, $30,800 were made in the

 3   names of third parties, including Person A, a foreign national.

 4   From March 19 through October 22, 2015, Zuberi orchestrated a series

 5   of contributions totaling $232,300 that appear linked to the Libya

 6   lobbying effort, which included contributions to the Hillary for

 7   America campaign, the Hillary Victory Fund, and the national

 8   congressional campaign committees for both the Democratic and

 9   Republican parties.        Of these contributions, $120,250 were made by

10   prohibited foreign sources, including Person A, by Zuberi in the

11   name of a third party, or were reimbursed by Zuberi.

12         Zuberi’s demands for money up front reveal that his covert

13   lobbying effort depended upon foreign-funded contributions to

14   political campaigns, corrupt donations to organizations affiliated

15   with politicians, and lobbying activities concealed from the

16   American public:

17
      4/15/15   Zuberi     I want the Libyans to pay what they promised in Paris...
18    4/15/15   Zuberi     Well they will have to do this prior to coming to US
19    4/30/15              [Note: Visas for Libyan delegation approved]
      5/1/15    Zuberi     I told you these idiots will get their visas. We have done everything they
20                         want (a little late because of me). Now we need to see something from
                           them to continue. Out of all the oil barrels they have promised there
21                         needs to be some barrels of oil as down payment now.
      5/1/15    Zuberi     If the motherfucker [Member of Libyan Parliament] doesn't pay then he
22
                           should not come or come and we will hold him at the airport. It is called
23                         VVVIP treatment. We check everything including cavities, assholes for
                           hemorrhoids and etc
24    5/7/15    Zuberi     The Libyans need to put down payment. Otherwise we are wasting our
                           time.
25    5/7/15    Person C   we said that we should look for someone in the Gulf to put down
26                         payment. the libyans will not put a downpayment. What is the next
                           step?
27    5/10/15   Zuberi     I am not going to spend all $3 to $5 million personally so we need to
                           come up with this. This is the next step. Maybe you and [Person A]
28                         don't know how things work in America this is why you guys keep

                                                   15
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 1                         asking me to do something which I can't do without everyone
                           contributing.
 2    5/13/15   Zuberi     [In response to his receiving FARA registration filing by Qorvis concerning
 3                         Libya]: Why are we helping them if they are going around talking to other
                           people? Why don’t we let them talk to everyone and when no one can
 4                         deliver then they can come to us to get it done.
      5/14/15   Zuberi     Please make sure you are working on getting people to put in $3 to $5
 5                         [million] we talked about …
      5/14/15   Person C   Ok everything but the 3 to 5 [million] is so hard unbelievable
 6
      5/14/15   Zuberi     You want billions unfrozen. This is nothing. Iranians spent $150
 7                         [million] to get $25 billion released…
      5/15/15   Zuberi     I am in Washington for our Arab friends. Going to NYC early morning to
 8                         meet Hillary Clinton. Can you please call me tomorrow to catch up because
                           I saw people from State at lunch and dinner. We talked about your country.
 9                         On the way to Washington I read the new book Clinton Cash.10 You
10                         must read because it discussed how Indian businessman helped make
                           US Indian civilian nuclear deal happen via Clinton.
11    5/14/15   Person C   Wow
      5/14/15   Person C   Indians are really smart
12    5/15/15   Zuberi     Donations
      5/15/15   Person C   I agree but you have to teach me how
13
      5/15/15   Zuberi     Start by the 3 to 5 [million] and work on getting people for Clinton
14    5/15/15   Zuberi     Read the book
      5/15/15   Zuberi     Read the book now
15                         …
      5/15/15   Person C   I already got you 6 [campaign contributions]11 and told me that it is good
16
                           for this month plus the others…
17

18        10 The book in question alleges that Indian entities and
     individuals donated millions of dollars to the Clinton Foundation to
19   ensure Secretary Clinton’s support for the exportation of U.S.
     nuclear technology to India. The Clinton Foundation has denied any
20   link between the contributions and Secretary Clinton’s official
     acts. See https://timesofindia.indiatimes.com/world/us/Charges-fly-
21   over-alleged-Indian-money-to-Clintons-to-push-nuclear-
     deal/articleshow/47116471.cms Between October 2013 and February
22   2014, Zuberi donated over $300,000 to the Clinton Foundation, a
     portion of which was reimbursed by a Person LL. The government
23   possesses no evidence suggesting that the Clinton Foundation engaged
     in any illegal activity.
24
          11 The six contributions were issued by Person A, Person B,
25   Person C, Person D, Person G, and Person H to Hillary for America.
     Three of these individuals were foreign nationals and therefore were
26   prohibited from contributing to U.S. election campaigns. Upon
     discovery of Person A’s foreign status, Hillary for America refunded
27   his contribution. The government has no information suggesting that
     Hillary for America was aware of the illegal nature of the
28   contributions.

                                                   16
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 1                         …
      5/15/15   Zuberi     Hey the book Clinton Cash
 2    5/15/15   Zuberi     You read and and have Mohammed read it
 3    5/15/15   Zuberi     This is how America work
      5/15/15   Zuberi     How Washington work
 4                         …
      5/16/15   Person C   [Person A] is talking to the minister and other libyans that they have to
 5                         consider to pay some amounts
 6    5/16/15   Person C   However [Person A] is going to Riyadh on monday to discuss with saudi
                           libyan guy I told you about
 7    5/16/15   Person C   I think this guy is our best bet.
      5/16/15   Zuberi     Without this it is no go. If I spend the money and do all the work then I will
 8                         want 90%
 9         By June 2015, a disagreement as to payment resulted in Zuberi
10   threatening to remove himself from the project and block the efforts
11   of his erstwhile partners:
12
      5/22/15   Zuberi     I haven't heard back from you guys so I am taking it that this is off and
13
                           canceling everything to do with Libya i.e. letter, visa, appointment and
14                         etc. I am a little irritated because I was push hard by both of you to:
                           • Come meet these guys in Paris earlier in the year. The Libyan-French
15                         guy promised which was never delivered
                           • To get them the letter. Which I did by calling in favors from people.
16                         Which will now be wasted
17                         • Get these Libyan the US visa. Which I did without them going to the
                           US Embassy. Usually this is not done. This was a waste
18                         • Come to Paris to help them get the presentation done. I flew 3 people
                           there at my expense more importantly I dropped other project to get to
19                         Paris myself because you guys asked
      6/5/15    Person C   Hi, we are about to finalize the Libyan thing by Tuesday but we are waiting
20                         the approval of the Parliament on tuesday and the negotiation is towards 3.5
21                         to 4% or it will not fly. This is for your information. I did not discuss it with
                           any of the 3 guys you brought…
22    6/15/15   Zuberi     …please tell the Libyan that this is off
      6/15/15   Zuberi     I can't work like Libyan do …
23    6/15/15   Person C   I think they might have another route to the congress …
24    6/15/15   Zuberi     Okay good
      6/15/15   Zuberi     I will block it
25                         …
      6/15/15   Zuberi     Please tell them they will have to get new visa because these will be
26                         cancelled this week
                           …
27
      6/15/15   Person C   Take care and thank you for the work you did
28    6/15/15   Zuberi     You will be wasting your time because Libyan will be blocked

                                                     17
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 1    6/15/15   Zuberi   I will make sure they get nothing
      6/15/15   Zuberi   They won't even be allowed to enter the country
 2
           However, in September 2015, shortly after Person A executed an
 3
     agreement to establish the offshore vehicle through which payments
 4
     could be made, Zuberi resumed his efforts in support of the
 5
     endeavor.     On September 28, 2015, one of Zuberi’s hirelings prepared
 6
     a report regarding the location of over $200 billion in frozen
 7
     assets.     On February 2, 2016, Zuberi enlisted the help of an
 8
     attorney to assist the Libyan delegation in lifting the freeze.                            On
 9
     March 1, 2016, Zuberi obtained a second letter of invitation for the
10
     delegation from members of the HFAC.
11
           Shortly thereafter, another dispute erupted between Zuberi and
12
     Person A after a staffer for the HFAC informed Zuberi that the lead
13
     member of the Libyan delegation was no longer in office.                         This
14
     resulted in Zuberi disassociating himself from the project.                          Person
15
     A retained another lobbyist and on April 19, 2016, the Libyan
16
     delegation met with a HFAC member.               Zuberi’s acrimonious emails in
17
     response to being cut out of the deal reveal his continued interest
18
     in wielding influence on behalf of the Libyan government independent
19
     of any arrangement with Person A:
20

21    3/1/16    Zuberi   I do not want to be involved in the Libya project after I get you the
22                       letter. I do not have the time and I do not want conflict with you. The way
                         you guys are doing it you have zero chance of getting anything done.
23                       Washington is not London or Riyadh or Beirut or Kuwait City. If I didn't
                         get you the letter there is no way you would have gotten the letter but
24                       your attitude suggest otherwise…
      4/16/16   Zuberi   I am disappointed in your behavior again. I hear from people in
25
                         Washington about the meetings and what I want them to do? … People
26                       have been asking me to help the new coming government in Libya as
                         oppose to the outgoing which you have signed with contract with. I will
27                       be going to Tunisia or Egypt to meet with them
      4/16/16            [Note: HFAC Congressman schedules meeting with Libyan delegation for
28                       April 19]

                                                 18
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 1    4/18/16   Zuberi   …Let’s see what you can accomplish. Having meetings with my friends
                         means nothing.
 2    4/18/16   Zuberi   By the way, if you want we can have all the meetings cancelled? Let’s see
 3                       what your lobbyist can do you reschedule?
      4/19/16            [Note: Libyan delegation meets with HFAC Congressman]
 4    4/22/16   Zuberi   I am not happy with the shady way [Person C] took Libyans to Washington
                         based on the letter I got for him and the visa my friends arranged. I learned
 5                       from my friends in Washington that this was happening. Next time
                         these meetings will be blocked. [Person C] and/or [Person A] (whose ever
 6
                         idea this was) didn't have the decency to tell me even when i was in
 7                       constant contact the days before with [Person C]
      6/4/16    Zuberi   There is a letter going out from Washington voiding the letter of
 8                       invitation to former Libyan [official]. We will not be dealing with them
                         going forward. We will work with other people in Libya
 9
           D.     ZUBERI LOBBIED CONGRESS AS AN AGENT OF A UKRAINIAN
10                NATIONAL
11         The USPO’s Presentence Report does not discuss the
12   circumstances of another FARA violation committed by Zuberi that
13   involves unregistered lobbying on behalf of a Ukrainian national,
14   Dmitry Firtash.     This lobbying effort generated $1 million for
15   Zuberi.     It is instructive because Zuberi performed unregistered
16   lobbying activities in tandem with transparent public relations
17   efforts conducted on behalf of Firtash by a FARA registrant.                            Well
18   aware of the FARA registration requirement, Zuberi and his
19   conspirators parsed out from disclosure those efforts they wished to
20   have concealed from the American public.
21         In late 2014, Zuberi engaged in business discussions with Group
22   DF International, a Ukrainian business conglomerate created by
23   Dmitry Firtash, a Ukrainian oligarch.                Firtash is currently under
24   indictment in the United States and facing extradition from Austria.
25   On January 1, 2015, Zuberi issued an invoice to Group DF, which was
26   paid with a $1 million wire transfer on March 27, 2015.
27         Zuberi’s work for Group DF appears to have involved lobbying
28   the U.S. Congress with respect to two issues: (1) Firtash’s criminal

                                                 19
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 1   defense, which largely revolved around the argument that the U.S.

 2   prosecution was politically motivated, and (2) the creation, with

 3   Congressional support, of a privately funded “Ukraine development

 4   fund” that would create business opportunities for Group DF in the

 5   Ukraine, after the collapse of its pro-Russian government.

 6         In August 2014, Zuberi enlisted a Washington, D.C. lobbying

 7   firm to come up with a proposal for Group DF to clean up Firtash’s

 8   public image.    Zuberi sent the lobbying firm (1) a June 14, 2014

 9   FARA registration filing made by another Washington D.C. lobbying

10   firm previously retained to represent Firtash, (2) a press article

11   reporting that Firtash had retained that previous firm to “clean his

12   public record,” and (3) a proposal from a public relations firm

13   entitled "Personal Reputation Management Campaign for Dmitry

14   Firtash."    Zuberi informed the lobbying firm that they would be

15   doing the same type of work as that performed by the FARA-registered

16   firm, but the lobbying firm was never retained.          However, within

17   four months, Zuberi issued the above-referenced $1,000,000 invoice

18   to Group DF and subsequently received full payment.

19         In September 2014, Zuberi entered into discussions with various

20   employees, agents, and lobbyists associated with Group DF in an

21   effort to promote Firtash’s plan for a Ukraine development fund that

22   would allow Group DF to profit in Ukraine in the wake of the

23   collapse of its pro-Russian government and the United States’s

24   imposition of sanctions against Russia.

25         In January 2015, Zuberi solicited and received from two members

26   of the HFAC letters of invitation addressed to members of the United

27   Kingdom and German legislatures who, according to open source

28   reporting, had previously operated as lobbyists and/or agents of

                                            20
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 1   Dmitry Firtash.     Zuberi forwarded the letters to both the invitees

 2   and to two officers of Group DF.        Zuberi told the ensemble of

 3   characters that the letters would make this “an official trip” and

 4   that they should be prepared to discuss not only the "Ukraine

 5   rebuilding fund" but also "Eastern European energy needs when you

 6   are in Washington."      Zuberi promised: "We will call US Energy

 7   Department (cabinet administration) and members who deal with these

 8   issues in Senate and House to discuss this.          US rules and

 9   regulations are being changed to make this happen."

10           On February 7, 2015, Zuberi, members of Zuberi’s U.S. entourage

11   and the Group DF representatives traveled to Munich to meet with

12   members of a Congressional delegation attending the annual European

13   Security Conference.      The purpose was to meet with members of

14   Congress to encourage them to support the creation of the Ukraine

15   fund.    The group met with five Senators and a Congressman for

16   dinner.    Zuberi engaged in private discussions with two U.S.

17   Senators.    Zuberi reported to the others that the Senators responded

18   that the idea needed more development.         Zuberi promised the Group DF

19   representatives, that once the concept was more developed, he would

20   bring it forward to Washington using his contacts and resources to

21   achieve results.12

22

23

24

25

26
          12 The HFAC members and two Senators with whom Zuberi met in
27   this instance were the same individuals to whom Zuberi directed
     $70,300 in contributions discussed in the section of this brief
28   relating to the Libyan lobbying effort.

                                            21
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 1   IV.   THE SCOPE OF ZUBERI’S FARA VIOLATIONS WERE EXCEPTIONAL

 2         The Court’ should consider the sentences of “defendants with

 3   similar records who have been found guilty of similar conduct.”             18

 4   U.S.C. § 3553(a)(6).      The most relevant follow:13

 5         In United States v. Manafort, No. 1:17-cr-00201 (D.D.C.),

 6   defendant pleaded guilty to (1) conspiracy to violate FARA, commit

 7   tax fraud, file false foreign bank account reports (“FBARs”), and

 8   launder money, and (2) conspiracy to obstruct justice by tampering

 9   with witnesses.     Manafort worked as an unregistered agent of the

10   Government of Ukraine, the Ukrainian Party of Regions, and former

11   Ukrainian President Yanukovych.        The Court sentenced Manafort to 73

12   months’ imprisonment, including the statutory maximum 60 months

13   imprisonment for the conspiracy to violate FARA.           Manafort’s

14   parallel sentence for tax and fraud offenses resulted in a total

15   term of incarceration of 90 months’ imprisonment.14

16         In United States v. Vincent et al., No. 1:05-cr-00059

17   (S.D.N.Y), defendant Tongsun Park was convicted at trial for

18   conspiring to violate FARA, to act as an agent of a foreign

19   government without notifying the Attorney General, and to launder

20   money, in connection with a scheme to lobby for easing United States

21   and United Nations sanctions on Iraq and to corruptly influence the

22

23        13 The list of cases includes only those most analogous the
     Zuberi matter. Sentences imposed against defendants who received
24   reduced sentences for cooperation (United States v. Gates, No. 1:17-
     cr-00201 (D.D.C.) and United States v. Patten, No. 1:18-cr-00260
25   (D.D.C.)) have not been included in this analysis.

26        14 Manafort’s entire sentence equaled 90 months’ imprisonment
     because of a 47-month sentence he received in the Eastern District
27   of Virginia for subscription to false income tax returns, failure to
     file an FBAR, and bank fraud that ran partially consecutively and
28   partially concurrently to the District of Columbia sentence.

                                            22
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 1   award and conditions of Oil-for-Food contracts.          The Court sentenced

 2   Park to the statutory maximum 60 months’ imprisonment.

 3         In United States v. Siljander, No. 4:07-cr-00087 (W.D. Mo.), a

 4   former U.S. Representative pleaded guilty to (1) acting as an

 5   unregistered agent of the Islamic American Relief Agency (“IARA”),

 6   to lobby for IARA’s removal from a Senate Finance Committee list of

 7   charities suspected of having terrorist ties, and (2) obstruction of

 8   justice.    His co-defendant, Abdel Azim El-Siddig, pleaded guilty to

 9   conspiring to violate FARA by hiring Siljander.          The Court sentenced

10   Siljander to one year and one day of imprisonment, and sentenced El-

11   Siddig to two years’ probation.

12         In United States v. Ben Israel, No. 1:13-cr-00572 (N.D. Il.),

13   defendant pleaded guilty to failing to register under FARA as an

14   agent of Zimbabwe.     Between late 2008 and early 2010, Ben Israel

15   lobbied U.S. state and federal government officials to lift

16   sanctions on Robert Mugabe and other Zimbabwean government

17   officials.    The Court sentenced Ben Israel to seven months

18   imprisonment.

19         In United States v. Chaudhry, No. 1:18-cr-00226 (D. Md.), the

20   defendant pleaded guilty for acting as an unregistered agent for

21   Pakistan.    The defendant’s conduct included organizing roundtable

22   discussions with his contacts in the U.S. government and scholars

23   employed by Washington, D.C.-area think tanks to solicit information

24   that could be used to influence U.S. foreign policy and neutralize

25   unfavorable views of Pakistan held by U.S. officials and scholars.

26   The defendant briefed high-level Pakistan government officials on

27   information obtained from his U.S. government and think tank

28

                                            23
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 1   contacts.    The Court sentenced defendant to three years of

 2   probation.

 3         The breadth of Zuberi’s FARA violations exceeds that of all of

 4   the above cases, as summarized below:

 5

 6   Defendant      FARA Crimes      Related Crimes            FARA Sentence
     Zuberi         Sri Lanka        defrauded clients
 7                  Bahrain          tax evasion
 8                  Turkey           witness tampering
                    Libya            FECA violations
 9                  Ukraine
                    Others
10
     Manafort       Ukraine          bank fraud                60 months
11                                   tax evasion
                                     witness tampering
12
                                     laundering
13   Vincent        Iraq             laundering                60 months
     Siljander      IARA             obstruction               12 months
14   Ben Israel     Zimbabwe                                   7 months
     Chaudhry       Pakistan                                   probation
15
           Zuberi’s conduct merits a sentence commensurate with the
16
     severity of his conduct.
17
     V.    DEFENDANT HAS FAILED TO COMPLY WITH FARA OBLIGATIONS AS
18         REQUIRED BY THE PLEA AGREEMENT
19         Paragraph four of the plea agreement requires the defendant to
20   “satisfy any and all obligations under FARA prior to sentencing,
21   including registering for any and all activity, past or present,
22   that requires registration under FARA and amending any deficiencies
23   in existing FARA filings.”
24         To date, the defendant has made no such filings.          In the event
25   defendant fails make necessary filings prior to sentencing, the
26   government believes the Court should consider this an aggravating
27   factor in determining his sentence.
28

                                            24
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 1   VI.   CONCLUSION

 2         Zuberi’s repeated conduct constitutes an egregious series of

 3   FARA violations.     The offenses involved prohibited activities on

 4   behalf of numerous foreign governments, entities, and individuals

 5   that transpired over the course of several years.           The violations

 6   were part of a larger surreptitious effort to route foreign money

 7   into U.S. elections and to use it to corrupt U.S. policy-making

 8   processes.    His crimes not only involved the violation of federal

 9   election laws and prohibitions on lobbying, but schemes to deceive

10   the United States Congress as to the actions of another nation,

11   defraud clients, and evade the payment of millions of dollars in

12   taxes.

13         Defendant’s own words, quoted throughout this memorandum,

14   demonstrate his corrupt motives.        Defendant explained to his clients

15   that funneling foreign money into U.S. elections and organizations

16   for the benefit of government officials was the “way America works.”

17   The Court can reject that proposition by imposing a sentence

18   announcing that America loathes such schemes and that illegal

19   foreign interference in our policy-making processes must stop.

20

21

22

23

24

25

26

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                                            25
